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                                                    9                                 UNITED STATES DISTRICT COURT

                                                   10                                        DISTRICT OF NEVADA

                                                   11 EUFEMIA GUILLEN,                                    Case No.: 3:20-cv-317-MMD-WGC

                                                                               Plaintiff,
SIMONS HALL JOHNSTON PC




                                                   12
                                                        vs.
                                                   13
                          Phone: (775) 785-0088
                           690 Sierra Rose Drive




                                                      B.J.C.R. L.L.C., a Nevada Limited Liability                  STIPULATION AND ORDER
                             Reno, NV 89511




                                                   14 Company; B.J.H.S., LLC., a Nevada Limited                     EXTENDING DISCOVERY
                                                      Liability Company; R.C.S.J., LLC, a Nevada                        [Third Request]
                                                   15 Limited Liability Company; Dhilan One
                                                      L.L.C., a Nevada Limited Liability
                                                   16 Company; CHAMPAK LAL, an Individual;
                                                      and BHARAT B. LAL, an Individual,
                                                   17
                                                                            Defendants.
                                                   18

                                                   19           Plaintiff Eufemia Guillen (“Plaintiff” or “Guillen”) and Defendants B.J.C.R. L.L.C.,
                                                   20    B.J.H.S., LLC., R.C.S.J., LLC, Dhilan One L.L.C., CHAMPAK LAL, and BHARAT B. LAL
                                                   21    (collectively “Defendants”), by and through their respective counsel, hereby stipulate and agree that
                                                   22    the discovery cut-off and related deadlines in this case be extended. As detailed further herein, the
                                                   23    additional time is necessary to review and produce (subject to a mutually agreeable and Court
                                                   24    approved protective order) Plaintiff’s immigration records recently received by Plaintiff’s counsel
                                                   25    from the U. S. Citizenship and Immigration Services (“USCIS”) as well as obtain Plaintiff’s records
                                                   26    from her healthcare providers recently disclosed as witnesses. Additionally, defense counsel is
                                                   27    gathering additional information for Plaintiff’s consideration of Defendants’ request for Plaintiff to
                                                   28    voluntarily submit to an independent psychological examination pursuant to Federal Rule of Civil

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                                                    1    Procedure 35.   Finally, the parties are considering a private mediation in the next six-eight
                                                    2    weeks which may resolve the matter prior to incurring expert witness fees. The parties believe an
                                                    3    extension of the discovery period by ninety (90) days to Thursday, May 5, 2022 will provide
                                                    4    adequate time to complete the remaining discovery.
                                                    5          This is the third request for an extension of these deadlines. This request is made in good
                                                    6 faith and is not for the purpose of delay. Pursuant to LR 26-4, the parties provide the following

                                                    7 information to the court in connection with their request for an extension of the discovery

                                                    8 deadlines: A. Statement of Discovery that has been Completed

                                                    9          The parties have exchanged their initial disclosures of documents and witnesses. To date, the
                                                   10 parties have produced nearly 3,000 documents and identified more than 20 witnesses not including

                                                   11 the individually named parties. On September 1, 2021, Plaintiff disclosed three treating healthcare
SIMONS HALL JOHNSTON PC




                                                   12 providers as witnesses and produced some of those providers’ records.                  In response to
                                                   13 Plaintiff’s disclosure, defense counsel requested that Plaintiff stipulate to an independent
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                                                   14 psychological examination pursuant to Federal Rule of Civil Procedure Rule 35. The parties are

                                                   15 currently discussing the details and logistics of such an exam in an effort to avoid unnecessary

                                                   16 motion practice and Court involvement.        In the meanwhile, the parties are in the process of
                                                   17 obtaining a full set of Plaintiff’s records from those health care providers.

                                                   18          Plaintiff responded to Defendant’s first set of interrogatories and requests for production
                                                   19 of documents. Plaintiff also served supplemental responses to Defendant’s interrogatories and

                                                   20 requests for production of documents.

                                                   21          On July 12, 2021, Plaintiff’s counsel submitted an authorization for the release of Plaintiff’s
                                                   22 immigration records from USCIS which were recently produced by USCIS. Plaintiff’s counsel is

                                                   23 in the process of reviewing the records received from USCIS and crafting a stipulated protective

                                                   24 order for the Court’s approval governing Plaintiff’s immigration records and healthcare records.

                                                   25 B. Description of the Discovery that Remains to be Completed

                                                   26          Upon the disclosure of three of Plaintiff’s healthcare providers in September, Defendants
                                                   27 have decided to seek a Rule 35 examination of Plaintiff. Defendants are gathering additional

                                                   28 information for Plaintiff’s consideration regarding whether to voluntarily submit to such an

                                                        examination in order

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                                                    1 to avoid motion practice and Court intervention. The parties are also in the process of negotiating

                                                    2 the terms of a stipulated protective order regarding Plaintiff’s immigration and healthcare records.

                                                    3         All parties agree that an extension of the discovery cutoff date is necessary to enable
                                                    4 the parties to gather Plaintiff’s health care records and proceed with expert discovery. In the

                                                    5 meanwhile, the parties are also considering a private mediation in order to fully resolve the case

                                                    6 and possible avoid incurring the expenses of expert discovery. In the event that the parties are

                                                    7 unable to resolve the matter though private mediation, the parties intend to set aside a number of

                                                    8 consecutive days in March/April in order to conduct in-person depositions of the parties and likely

                                                    9 certain other witnesses (including the Plaintiff, Eufemia Guillen, and Defendants, Champak and

                                                   10 Bharat Lal) in Elko, Nevada. The parties anticipate they will have to arrange for a court reporter, a

                                                   11 translator, and a videographer to travel to Elko, Nevada for these depositions (in addition to
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                                                   12 counsel traveling from Reno, Nevada and Las Vegas, Nevada).

                                                   13 C. Reasons the Remaining Discovery was not Completed within the Time Limits set by the
                          Phone: (775) 785-0088
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                             Reno, NV 89511




                                                   14      Discovery Plan
                                                   15         Due to the complexity of the issues presented in this case, the number of witnesses involved,
                                                   16 complications brought on by the global COVID-19 pandemic and the need to obtain all relevant

                                                   17 records (from USCIS and Plaintiff’s treating healthcare providers), the parties have not been able to

                                                   18 complete discovery as efficiently as initially planned. However, as described in more detail above,

                                                   19 the parties have worked diligently to continue conducting discovery.

                                                   20 D. Proposed Schedule for Completing all Remaining Discovery

                                                   21         1.       Discovery Cut-Off Date:
                                                   22         The parties shall complete discovery on or before May 5, 2022.
                                                   23         2.       Amending the Pleadings and Adding Parties:
                                                   24         The date for filing motions to amend the pleadings or to add parties has passed.
                                                   25         3.       Expert Disclosures:
                                                   26         The last day for disclosures required by FRCP 26(a)(2) concerning experts shall not be later
                                                   27 than 60 days before the discovery cut-off date, and, therefore, not later than March 4, 2022 [March

                                                   28 6, 2022 being a Sunday].

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                                                    1          The last day for disclosures regarding rebuttal experts shall be due thirty (30) days after the
                                                    2 initial disclosure of experts, on April 4, 2022 [April 3, 2022 being a Sunday].

                                                    3          4.       Dispositive Motions:
                                                    4          The Parties shall file dispositive motions not more than thirty (30) days after the discovery
                                                    5 cut-off date and, therefore, not later than June 6, 2022 [June 4, 2022 being a Saturday].

                                                    6          5.       Pretrial Order:
                                                    7          If no dispositive motions are filed, and unless otherwise ordered by this Court, FRCP 26(a)(3)
                                                    8 disclosures shall be made, and the Joint Pretrial order shall be filed not more than thirty (30) days

                                                    9 after the date set for filing dispositive motions, and therefore, not later than July 6, 2022. In the event

                                                   10 dispositive motions are filed, the last day to file the Joint Pretrial order shall be suspended until thirty

                                                   11 (30) days after the ruling on the dispositive motions.

                                                         DATED this 30th day of November, 2021.            DATED this 30th day of November, 2021.
SIMONS HALL JOHNSTON PC




                                                   12

                                                   13    KEMP & KEMP, ATTORNEYS AT LAW                     SIMONS HALL JOHNSTON PC
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                                                   14
                                                         /s/ James P. Kemp                                 /s/ Sandra C. Ketner
                                                   15    James P. Kemp, Esq.                               Anthony L. Hall
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                                                   17
                                                         Las Vegas, Nevada 89130                           690 Sierra Rose Drive
                                                   18    Attorneys for Plaintiff                           Reno, NV 89511
                                                                                                           Attorneys for Defendants
                                                   19

                                                   20

                                                   21                                                   ORDER

                                                   22           IT IS SO ORDERED.
                                                   23
                                                                             1st day of _____________,
                                                                DATED this ______        December      2021.
                                                   24

                                                   25

                                                   26                                                   UNITED STATES MAGISTRATE JUDGE
                                                   27
                                                      Barring any unforeseen and unusual circumstances, the court will not favorably
                                                   28 receive any further requests for extensions of the discovery deadlines.

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